               Case 3:17-cv-00441-D Document 1 Filed 02/16/17                       Page 1 of 3 PageID 1
BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Provider Meds, LP                                            §
                                                             §    Case No.: 13−30678−bjh7
                                           Debtor(s)         §    Chapter No.: 7
Tech Pharm Services, Inc. et al.                             §
                                           Plaintiff(s)      §    Adversary No.:     15−03101−bjh
      vs.                                                    §
ProvideRX of Waco, LLC et al.                                §    Civil Case No.:
                                           Defendant(s)      §
                                                             §
RPD Holdings, LLC                                            §
                                    Appellant(s)             §
     vs.                                                     §
Tech Pharmacy Services, LLC d/b/a Advanced                   §
Pharmacy Services                                            §
                                    Appellee(s)              §
                                                             §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other
                Copies of: Notice of appeal, appealed order [98], and supporting documentation

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (214) 753−2200.



DATED: 2/16/17                                    FOR THE COURT:
                                                  Jed G. Weintraub, Clerk of Court

                                                  by: /s/Sheniqua Whitaker, Deputy Clerk
               Case 3:17-cv-00441-D Document 1 Filed 02/16/17           Page 2 of 3 PageID 2
BTXN 116 (rev. 07/08)
                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS




                                     APPEAL SERVICE LIST
                                    Transmission of the Record
BK Case No.: 13−30678−bjh7

Adversary No.: 15−03101−bjh

Received in District Court by:

Date:

Volume Number(s):

cc: Barbara J. Houser
    Michaela Crocker
    Jane Gerber
    Attorney(s) for Appellant
    US Trustee




Appellant RPD Holdings, LLC

Davor Rukavina, Esq.
Munsch Hardt Kopf & Harr, P.C.
3800 Lincoln Plaza
500 N. Akard Street
Dallas, Texas 75201
(214) 855−7587



Appellee Tech Pharmacy Services, LLC d/b/a Advanced Pharmacy Services
David Bass, Esq.
Cole Schotz, P.C.
1325 Avenue of the Americas
19th Floor
New York, New York, 10019−6079
(646) 563−8932
                  Case 3:17-cv-00441-D Document 1 Filed 02/16/17                                                           Page 3 of 3 PageID 3
BTXN 150 (rev. 11/10)
In Re:                                                                                  §
Provider Meds, LP                                                                       §
                                                                                        §           Case No.: 13−30678−bjh7
                                                            Debtor(s)                   §           Chapter No.: 7
Tech Pharm Services, Inc. et al.                                                        §
                                                            Plaintiff(s)                §           Adversary No.: 15−03101−bjh
      vs.                                                                               §
ProvideRX of Waco, LLC et al.                                                           §
                                                            Defendant(s)                §



                                                               CIVIL CASE COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet.

             I. (a) APPELLANT                                                                       APPELLEE
                    RPD Holdings, LLC                                                               Tech Pharmacy Services, LLC d/b/a Advanced Pharmacy Services
                 (b) County of Residence of First Listed Party:                                     County of Residence of First Listed Party:
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                               (IN U.S. PLAINTIFF CASES ONLY)
                 (c) Attorney's (Firm Name, Address, and Telephone Number)                          Attorney's (If Known)
                     Davor Rukavina, Esq.                                                           David Bass, Esq.
                     Munsch Hardt Kopf & Harr, P.C.                                                 Cole Schotz, P.C.
                     3800 Lincoln Plaza                                                             1325 Avenue of the Americas
                     500 N. Akard Street                                                            19th Floor
                     Dallas, Texas 75201                                                            New York, New York, 10019−6079
                     (214) 855−7587                                                                 (646) 563−8932


             II. BASIS OF JURISDICTION
                                                                                                        Federal Question                     Diversity
                          U.S. Government                    U.S. Government
                                                                                                        (U.S. Government                     (Indicate Citizenship
                  1       Plaintiff                  2       Defendant                          3                                     4
                                                                                                        Not a Party)                         of Parties in Item III)


             III. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                     Incorporated or Principal Place
             Citizen of This State
                                                      1                    1         of Business In This State                              4                     4
                                                                                     Incorporated and Principal Place
             Citizen of Another State
                                                      2                    2         of Business In Another State                           5                     5
             Citizen or Subject of a
                                                                                     Foreign Nation
             Foreign Country                          3                    3                                                                6                     6


             IV. NATURE OF SUIT

                  422 Appeal 28 USC 158                       423 Withdrawal 28 USC 157                              890 Other Statutory Actions


             V. ORIGIN
                                                            Removed from State                                                                         Reinstated or
                        Original Proceeding                                                         Remanded from Appellate Court
                  1                                  2      Court                           3                                                    4     Reopened
                        Transferred from                    Multidistrict                           Appeal to District Judge from
                  5     another district             6      Litigation                      7       Magistrate Judgment


             VI. CAUSE OF ACTION
             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
             28 USC 158
             Brief description of cause:
             Notice of appeal of a bankruptcy court order


             VII. REQUESTED IN COMPLAINT:
                                                                                                                     CHECK YES only if demanded in complaint:
                        CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23                            DEMAND $
                                                                                                                     JURY DEMAND:                Yes         No


            VIII. RELATED CASE(S) IF ANY
            Judge:                                                                       Docket Number:


             DATED: 2/16/17                                                 FOR THE COURT:
                                                                            Jed G. Weintraub, Clerk of Court
                                                                            by: /s/Sheniqua Whitaker, Deputy Clerk
